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Case 4:08-cV-OO479-A Document 15 Filed 10/23/08 Page 1 Of 1156, B’HQ`(RI§%§UURT

 

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q Q)\Y w IN THE UNITED STATES DISTRICT C0URT 2., gm 23 P% 3, us
Q'§;~<\ FOR THE NORTHER DISTRICT 0F TEXAS “°“ ' ‘ '
FT- WORTH _DIVISION LM.»_. ..,§`” C`,H`\’T
FLAVIo AGUIRRE, " ' ‘ ~
Individuauy § CIvIL ACTION N0.
§
Plaintiff, § 4=03-Cv-479-A
v. §
§
JOSE AGUIRRE d/b/a - Aguirre’s Auto §
Sales and Service §
§

Defendant.

Appendix to Brief in Support of Motion for Summarv Judgment

INDEX OF EXHIBITS
A. Plaintif’f’s Original Complaint
B. Aff`ldavit of Plaintiff

C. Assumed Names records

D. Affldavit of Fees & Costs

TABLE OF AUTHORITIES

Statutory

Fair Labor Standards Act (“FLSA”) (29 U.S.C. §§ 206, 207, and 215 (a)(Z) & (3).
Section 203(d)

Section 3(S)(1)

Section 203(5)(1)

Section 16(b) of the FLSA

Cases

McLaughlin v. Rz`chlandShoe Co., 486 U.S. 128, 132, 108 S.Ct. 1677, 1680-81, 100
L.Ed.2d 115 (1988).

Appendix to Brief in Support of Plaintiff"s Motion for Summary Judgment

 

 

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Texas Farm Prods. Co. v. Williams, 406 S.W.2d 256, 259 (TeX.Civ.App.-Tyler 1966,

Writ refd n.r.e.), cert. denied, 388 U.S. 911, 87 S.Ct. 2116, 18 L.Ed.2d 1350 (1967).

Robertson v. Alaska Juneau Gola' Mining Co., 157 F.2d 876, 878 (9th Cir.1946), cert.
den., 331 U.S. 823, 67 S.Ct. 1314 91 L.Ed. 1839 (1947), vacated on other grounds,
331 U.S. 793, 67 S.Ct. 1728 91 L.Ed. 1821 (1947).

Walling v. Helmerich & Payne, Inc., 323 U.S. 37, 41, 65 S.Ct. 11, 13, 89 L.Ed.2d 29

(1944).

Nelson v. Alabama [nsl. For Deaf& Blind, 896 F.Supp. 1108, 1113-14
(N.D.Ala.1995)

Cole v. Farm Fresh Poullry, Inc., 824 F.2d 923, 927 (11th Cir.1987);

Certificate of Service

I hereby certify that a true and correct copy of the foregoing instrument Was served by

certi ed mail, return receipt requested on the Defendant this l ] th day of October, 2008.
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Appendix to Brief in Support of Plaintiff’s Motion for Summary Judgment

 

 

 

`Case 4:08-cv-OO479-A Document 15 Filed 10/23/08 Page 3 of 15 Page|D §_Qh ED
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IN THE UNITED STATES DISTRICT COURT FT, WORTH {)Wg§;ggN
FOR THE NORTHER DISTRICT OF TEXAS M
FT. WoRTH DIvISIoN w§$ AU.G 12 AH l l= l 8
CLWER?‘( `OF COURT
FLAVIO AGUIRRE, on his behalf §
and on behalf on those similarly situated, § CIVIL ACTION NO.
§ . ~ 1 - g 1 ‘ iv
Plaintiff, § § ““ §§ 3 § § “‘*‘ § § § m §
v. §
§ JURY DEMANDED
JOSE AGUIRRE d/b/c - Aguirres Auto §
Sales and Service § CULLECTIVEACTION
§

Defendant.

PLAINTIFF’S ORIGINAL COMPLAIN'I`

Plaintiff brings this action against Defendant Jose Aguirre d/b/c - Aguirres Auto

Sales and Service and Would show as follows:
I. OVERVIEW

1. Defendants have failed to pay Plaintiff (and those similarly situated to him) in
accordance With the Fair Labor Standards Act. Specifically, Defendants failed to
accurately track and pay for all hours Plaintiff Worked and failed to pay Plaintiff time-
and-a-half of his regular rate of pay for all hours he Worked in excess of 40 hours per
Workweek. Plaintiff brings this action as a collective action pursuant to 29 U.S.C. §
216(b). Additionally, Defendants have engaged in unlawful retaliation against Plaintiff by
terminating him. He took protected action by telling Defendant that his paycheck
bounced and the Department of Labor had told him he Was entitled to be paid timely.

II. PARTIES

2. Plaintiff is an individual Who resides in Tarrant County, TeXas.

Plaintiff’ s Original Complaint

 

' Case 4:08-cv-OO479-A Document 15 Filed 10/23/08 Page 4 of 15 Page|D 61

3. Defendant Jose Aguirre d/b/c - Aguirres Auto Sales and Service is an individual
and sole proprietor ship with its principal place of business at 3725 Hemphill Rd, Fort
Worth, Texas 76110 and can be served at that address.

III. JURISDICTION _
4. This Court had jurisdiction over Defendants because Defendants reside within this
District and Plaintiff has asserted a claim arising under federal law.

IV. VENUE

5. Venue is proper in the Northem District of Texas because the events forming the
basis of the suit occurred in this District.

V. COVERAGE

6. At all times hereinafter mentioned, Defendants have been employers within the
meaning of the section 3(d) of the FLSA, 29 U.S.C. § 203(d).
7. ' At all times hereinafter mentioned, Defendants have been an enterprise within the

meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).
8. At all time hereinafter mentioned, Defendants have been an enterprise engaged in
interstate commerce or in the production of goods for commerce within the meaning of
Section 3(s)(l) of the FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has had
employees engaged in commerce or in the production of goods for commerce, or
employees handling, selling, or otherwise working on goods or materials that have been
moved in or produced for commerce by any person and in that said enterprise has had and
on information and belief had between his related and associated entitles an annual gross
volume of sales made or business done of not less than $500,000.
9. At all times hereinafter mentioned, Plaintiff was an individual employee who was
engaged in commerce or in the production of goods for commerce as required by 29
U.S.C. §§ 206-207.

VI. FACTS
10. Plaintiff was employed by Defendants as a mechanic in the Service Department.
Defendants fail to accurately track the hours of work for Plaintiff and all those similarity
situated. Plaintiff routinely works in excess of 40 hours per week, specifically his work

hours were 10.5 hours daily 6 days a week for 15 years with no vacation.

Plaintiff`s Original Complaint

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Case 4:08-cv-OO479-A Document 15 Filed 10/23/08 Page 5 of 15 Page|D 62

11. Plaintiff was not paid overtime for all hours he worked in excess of 40 in a
workweek as required by law and in fact Was paid a flat rate of $400 Weekly.

12. On or about February 2008, Defendant bounced paycheck to Plaintiff who then
learned that he was required to be given good funds to pay his Wages in a timely manner
after the close of the pay period and that due to the NSF check he had not been paid
timely and he desired prompt payment.

13. Plaintiff is aware of other current and former employees who are similarity in that
they have worked in excess of 40 hours per workweek but were not paid for their hours
of work in accordance with the FLSA,

VII. COUNT ONE: FAILURE TO PAY WAGES IN
ACCORDANCE WITH THE FAIR LABOR STANDARDS ACT

14. During the relevant period, Defendants have violated and are violating the
provisions of Section 6 and/or 7 of the FLSA, 29 U.S.C. §§ 206, 207, and 215(a)(2), by
employing employees in an enterprise engaged in commerce or in the production of
goods for commerce within the meaning of the FLSA as aforesaid, for workweeks longer
than forty hours per week at rates no less than one and one-half the regular rates for
which they were employed. Defendants have acted willfully in failing to pay Plaintiff in
accordance with the law.
VlII. COUNT TWO: RETALLIATION UNDER THE FLSA
15. Plaintiff incorporates all previous paragraphs as if fully set forth herein.
16. Defendant unlawfully retaliated against Plaintiff in violation o'f 29 U.S.C.
§215(a)(3) of the FLSA. Accordingly, Plaintiff is entitled to compensatory damages and
punitive damages '
IX. RELIEF SOUGHT
17. WHEREFORE, cause having been shown, Plaintiff prays for judgment against
Defendants as follows:
a. For an Order pursuant to Section 16(b) of the FLSA finding Defendants
liable for unpaid back wages due to plaintiff (and those who later join the suit) and for
liquidated damages equal in the amount to the unpaid compensation found due to the

Plaintiff; and

Plaintiff s Original Complaint

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b. For an Order awarding the plaintiff (and those who later join in the suit)

the cost of this action;

c. For an Order awarding Plaintiff (and those who later join the suit) their

attorney fees; and

d. For and Order awarding the Plaintiff (and those who later join the suit)

pre-judgment and post-judgment interest at the highest rates allowed by law; and

e. F or and Order granting such other and further relief as may be necessary

and appropriate.

Plaintiff s Original Complaint

Respec fully submitted,

 

 

. _ ‘\}\` _:~ `.
Joan . rkin
Texas r o. 06287030

669 Airport Freeway, Suite 107
Hurst, TX 76053

Tel. (817)545-9700

Fax. (817)545-5071

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Case 4:08-cv-OO479-A Document 15 Filed 10/23/08 Page 7 of 15 Page|D 64

VERIFICATION

STATE OF TEXAS §
COUNTY OF TARRANT §

My name is Flavio Aguirre l am an Adult who has personal knowledge of the
facts set froth on this complaint l have read the complaint and verify that the facts are

true and correct to the best of my knowledge and belief.

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Flavio Aguirre

+‘_~_:
Sworn and Subscribed to Before me by Flavio Aguirre this le_ day of August 2008.

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' MARGARET MADERA ' NotaryiPuch in and for the State of Texas
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Plaintiff’ s Original Complaint

 

. Case 4:08-cv-OO479-A Document 15 Filed 10/23/08 Page 8 of 15 Page|D 65

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHER DISTRICT OF TEXAS
FT. WORTH DIVISION

FLAVIO AGUIRRE,
Individually CIVIL ACTION NO.
Plaintiff, 4:08-CV-479-A

v.

JOSE AGUIRRE d/b/a - Aguirre’s Auto
Sales and Service

W'DOO°WDOO'JCQO¢MWOWO

Defendant.

AFFIDAVIT OF FLAVIO AGUIRRE

STATE OF TEXAS §
COUNTY OF TARRANT §

My name is Flavio Aguirre l am an Adult over the age of 18 and have not been convicted
of a felony. l have personal knowledge of the facts set froth on this Motion for Summary
Judgment . I have read the facts about the work l did, the hours I worked, the pay l received, the
different types of business that was engaged in and the other facts set forth herein and l do verify

that the facts are within my personal knowledge and are true and correct.

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Flavio Aguirre

Sworn and Subscribed to Before me by FlavioA uirr e this ___day of October 2008.

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Notzi ry PUic 1n and for the itate of Texas

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MARGARET MADERA
'(.‘§ Notary Pub|ic, State of Texas
My Commission Expires

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4CERTlF|CATE OF UWNERSH|P

l/We, the undersigned are the uwner_,__of the above business and my/our name.__`_.and address__given
is/are true and correct, and there islare no ownership{s) in said busin¢u other than those listed heroin below.

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Notarv Public in and for Tarrant County,Texas

 

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(811) 884-1195

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l/We, the undersigned, are the owner___of the above business and my/our name__and oddress__given
is/ere true and correct, and there is/are no ownership(s) in said business other than those listed herein below.
- NAMES OF OWNERS -
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THE STATE OF TEXAS )

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BEFORE ME, THE UNDERS|GNED AUTHOR|TY, on this day personally appeared
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known to me to be the purse hose ngp{e___is/ara subscribed to the foregoing instrument and acknowledged to me that.._.he.._.
are the owner(s) of the above-named business and thet__he__.signed the same for the purpose and consideration therein expressed

 

 

 

         

 

 

 

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TARRANT COUNTY COURTHOUSE
100 W. WEATHERFORD
FORT WORTH, TX 76196
(817) 884-1195

Customor: AGU|RRE, JOSE J

Receipt #: 528738

Page 12 of 15 Page|D 69

Page 1 of 1

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0 Case 4:08-cV-OO479-A Document 15 Filed 10/23/08 Page 13 of 15 Page|D 70

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHER DISTRICT OF TEXAS

FT. WORTH DIVISION
FLAVIO AGUIRRE, §
Individually § CIVIL ACTION NO.
Plaintiff, § 4:08-CV-479-A
v. §
§
JOSE AGUIRRE d/b/a - Aguirre’s Auto §
Sales and Service §
§

Defendant.

Application for Payment of Attornev Fees
TO THE HONORABLE JUDGE OF SAID COURT:
NOW COMES, Joan Durkin, and respectfully shows the Court as follows:

l. Applicant is an attorney licensed to practice law in the State of Texas. In the above-
referenced matter, Applicant has spent 13 hours on this matter prior to the hearing Which is
estimated to involve 1.5 hours for travel and hearing time, and incurred expenses in the
amount of $435 for filing fees and service as set forth in the itemized statement attached
hereto as Exhibit A and incorporated herein for all purposes.

2. Applicant is familiar With the reasonable and customary fees charged by attorneys in FSLA
proceedings in Tarrant County, Texas. ln my opinion, Which is based upon my 19 years
experience, education and training, the amount of $ 300().00 is a reasonable and customary
fee for the services l have provided in this matter and such fee is necessary and vvas
incurred While representing the Plaintiff

WHEREFORE, Applicant respectfully requests that this Court award attorney’s fees and
expenses in the amount of $3,435.00 and order that such fees be paid by funds tendered by the
Defendant.

Submitted this October 21, 2008.

Respectfully submitted,
Durkin Law Offices

EX.D Y%-\

 

Case 4: 08- -C\/- -00479- A Document 15 Filed 10/ 3/08 Page 14 of 15 Page|D 71

 

:oa .Durkin

sBar No. 06287030
669 irport Freevvay, Suite 107
Hurst, TX 76053

Tei. (817)545-9700
Fax. (817)545-5071

Certiflcate Of Service

I hereby certify that a true and correct copy of the foregoing instrument Was served upon the
Defendant by first class mail on this 21St of October 2008.

bork

J an M. Durkin
exas Bar No. 06287030
69 Airport Freeway, Suite 107
Hurst, TX 76053
Tel. (817)545-9700
Fax. (817)545-5071

 

 

Case 4:08-cV-OO479-A Document 15 Filed 10/23/08 Page 15 of 15 Page|D 72

 

 

 

 

 

 

 

 

 

 

 

 

Date Description Time/Expense Person

3/12/08 Rec’d & rev’d flle .3 JMD

3/13/08 Draft Demand l.5 JMD
Letter

8/1/08 Meeting W/client .5

8/5/08 Research 1.5 JMD

8/1 l/08 Draft Plaintiff s JMD
Original Complaint

10/3/()8 Meeting l JMD
W/Defendant &
reviewing answer.

10/3/08 t/c With client .3

l 0/ 6/ 08 Reviewed Order .2 JMD
Regarding Answer

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10/21/08 Drafting and 4.5 JMD
Preparing MSJ plus

 

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hearing time.

 

 

 

 

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